        Case 1:17-cv-03139-LGS-SDA Document 576 Filed 02/24/22 Page 1 of 1



The concerns raised by Mr. Owens are considered resolved.

The Clerk of Court is respectfully directed to mail this endorsed letter to Edward Thomas Owens at
252 Freedom Dr., Franklin, TN 37067.
                                           MICHAEL C. DELL’ANGELO EXECUTIVE SHAREHOLDER
                                               d 215.875.3080 m 610.608.8766 mdellangelo@bm.net
Dated: February 24, 2022
New York, New York
                                           February 23, 2022

  VIA ECF – EXHIBITS FILED UNDER SEAL

  Honorable Lorna G. Schofield
  United States District Judge
  Thurgood Marshall U.S. Courthouse
  40 Foley Square
  New York, NY 10007

          RE: Contant, et al. v. Bank of America Corp., et al., No. 17-cv-3139

  Dear Judge Schofield:

          Pursuant to the Court’s Order of February 17, 2022, (ECF 571), Class Counsel write to
  report on our efforts to contact Mr. Owens to discuss the concerns set forth in his letter to the Court
  dated February 16, 2022. (ECF 570) In sum, Mr. Owens’ concerns have been fully resolved and
  neither Class Counsel nor Mr. Owens believe that any further action is required, subject to the
  Court’s direction.

          In response to the Court’s Order, on February 18, 2022, Class Counsel transmitted a
  detailed letter to Mr. Owens. (See, Ex. A) Class Counsel attempted to address each of Mr. Owens’
  concerns by providing detailed explanations and supporting documentation which was provided
  in a ZIP file and at a hosted Sharefile. Id. Class Counsel also proposed a follow-up telephone call,
  as needed. Id. On Monday, February 21, 2022, Class Counsel telephoned Mr. Owens to determine
  if he wished to discuss any of his concerns in view of Class Counsel’s February 18, 2022 letter.
  At that time, he did not. (See, Ex. B) Later, on February 21, Mr. Owens indicated that no further
  discussion was necessary. (See, Ex. C)

          We welcome any questions the Court may have.

                                                         Respectfully submitted,

                                                         /s/ Michael Dell’Angelo
                                                         Michael Dell’Angelo

  cc: Mr. Edward Owens (via email and regular mail)




                                                               1818 MARKET STREET, SUITE 3600
                                                               PHILADELPHIA, PA 19103
                                                               215.875.3000 BERGERMONTAGUE.COM
